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                                       No.19‐ 1305C

                                (Filed:September ll,2019)

                                NOT FOR PUBLICAT10N

WALTER L.ALLEN,
                     Plainti範
                                                         Pro Se Complaint; Sua Sponte
V.                                                       Dismissal for Want of
                                                         Jurisdiction; RCFC l2(hX3);
THE UNITED STATES,                                       Injunction Against the Filing of
                                                         New Complaints without Leave of
                     Defendant.                          the Chief Judge.



                                          ORDER
        The complaint of pro se plaintiff Walter Allen, ECF No. 1, is currently before the
court. Because the court lacks jurisdiction over plaintiff s claim, the court must dismiss
this case pursuant to Rule l2(hX3) of the Rules of the United States Court of Federal
Claims (RCFC). See RCFC 12(hX3) ("If the court determines at any time that it lacks
subject-matter jurisdiction, the court must dismiss the action.").

I.     Background

       Plaintiff s handwritten complaint is largely incoherent. The first line of the
complaint indicates that Mr. Allen's suit is "[a]ll related to Domestic Violence (verbal
dispute only)." ECF No. I at l. The complaint references the fact that plaintiff was
arrested, id., then "Detained and Bailfed] out," id. at 2. One of the attachments to the
complaint is the record of the arraignment of Mr. Allen, which shows that the "DVI"
charge was later dismissed. ECF No. 1-1 at l.

        Mr. Allen, on the civil cover sheet attached to his complaint, describes the nature
of his suit as one sounding in Unjust Conviction and Imprisonment. ECF No. 1-2 at l.
The amount claimed in this suit is "100,000,000,000,000,000.00," or "one hundred
million zillion dollars." Id. There is no indication, however, that there was any
conviction that might support such a claim. See ECF No. 1 at I ("Court Appearances
Disposition Dismissed."). Nor is there any indication that a federal criminal statute or
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federal officials were involved in either the arrest of or adjudicative proceedings for Mr.
Allen as to the incident described in the complaint.

II.    Analysis

        There are at least two impediments to this court's jurisdiction over plaintiff s
unjust conviction and imprisonment claim. First, such a claim, to be within the
jurisdiction of this court, must be founded on a conviction for a federal crime. 28 U.S.C.
 $ 1495 (2012). There is no such allegation in the complaint. Second, the conviction for a
 federal crime must have been reversed or set aside. 28 U.S.C. $ 2513 (2012). Again,
there is no such allegation in the complaint. Without these two prerequisites to suit, an
unjust conviction claim filed in this court must be dismissed for lack ofjurisdiction. See.
 e.9., Salman v. United States, 69 Fed. CL.36,39 (2005) (citations omitted).

       Conclusion

        The court does not possess subject matter jurisdiction over this suit and this case
must be dismissed. The court notes, too, that this is plaintiff s second complaint assigned
to the undersigned judge. See Allen v. United States, Case No. 19-1272C. In addition to
the cases assigned to the undersigned judge, Mr. Allen has filed eight other cases in this
court since May 23,2019. See Allen v. United States, Case Nos. l9-791C, 19-l 123C,
 19-1 15lC, 19-l 17lC, l9-1260C, l9-1302C, 19-1303C, and 19-1304C. To date, four of
these cases have been dismissed for lack ofjurisdiction. See Allen v. United States, Case
Nos. l9-791C, l9-1151C, l9-1260C and l9-1272C. The filing of ten complaints by Mr.
Allen in less than four months, as evidenced by the dismissal of half of the suits, shows
that these suits are filed without any consideration of the jurisdiction of this court. This is
a repetitive and frivolous filing pattern which consumes valuable judicial resources.

       Accordingly,

       (l)    The clerk's office is directed to ENTER judgment for defendant
DISMISSING plaintiff s complaint for lack of subject matter jurisdiction, without
prejudice, pursuant to RCFC l2(hX3);

       (2)    The clerk's office is directed to RETURII any future filings not in
compliance with this court's rules to plaintiff, UNFILED, without fuither order of the
court, except for any notice ofappeal; and

       (3)   Because plaintiff has repetitively filed complaints which needlessly
consume the resources of the court, the court enters the following anti-filing injunction:

             Mr. Allen is immediately ENJOINED from filing any new
       complaints with this Court without hrst obtaining leave from the
       Chief Judge of the United States Court of Federal Claims to do so.
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Any motion for leave to file must include as an attachment a fulI
 complaint that meets all of the requirements of RCFC 8; in particular
the complaint must identiff the source of law supporting this court's
jurisdiction over the claims asserted. Thus, the clerk's office is
directed to REJECT all future complaints from Mr. Allen unless filed
by leave ofthe Chief Judge.

IT IS SO ORDERED.




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